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                                   UNITED STATES DISTRICT COURT
                                            DISTRICT OF NEW JERSEY
                                                   (609) 989-2182
        CH AM BERS O F                                                             Clarkson S. Fisher Federal Building
    FREDA L. W OLFSON                                                                      & U.S. Courthouse
U N ITED STATES DISTRICT JU DG E                                                          402 East State Street
                                                                                       Trenton, New Jersey 08608




                                                         April 5, 2012




                         Re: U.S.A. vs Carl Barnett, et al.
                             Cr. 11-452(FLW)

     Dear Counsel:

             Please be advised we have scheduled an in-person status conference (counsel only) for April
     20, 2012 at 11:00 a.m. in Courtroom 5E. To ensure that things move smoothly towards trial on May
     21 (THIS IS A FIRM DATE), it would be helpful for all of you to be aware of my trial practices
     and expectations. We will discuss scheduling of submissions of voir dire, jury charges, and the
     logistics of our trial days. Questionnaires are currently being sent out to prospective jurors due to
     the length of the trial.




                                                               Very truly yours,


                                                               /s/ Freda L. Wolfson
                                                               FREDA L. WOLFSON
                                                               United States District Judge
